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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  ROBERT SCHMIDT, RUSSELL
  ADAMS, and JASON TAYLOR,
  individually and on behalf of all other
  similarly situated,
                                                Case No. 18-CV-08528-CCC-JBC
               Plaintiffs,

        v.

  JAGUAR LAND ROVER NORTH
  AMERICA, LLC,
               Defendant.



                        ORDER GRANTING FINAL
                     APPROVAL OF CLASS SETTLEMENT

       Class Representatives Robert Schmidt, Jason Taylor, and Russell Adams

 (collectively, “Class Representatives”), individually and as representatives of the

 Settlement Class, and Defendant Jaguar Land Rover North America, LLC

 (hereinafter “JLRNA”) (together with the Class Representatives, the “Parties”)

 requested that this Court enter an Order granting final approval of their Settlement

 and taking certain other actions. On March 9, 2022, the Court held a hearing on

 final approval of the Settlement.
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       Upon considering the Parties’ Settlement Agreement, all papers in support of

 the Settlement filed by the Parties, the arguments of counsel, and the entire record

 herein, it is hereby ORDERED as follows:

       1.     This Court has subject matter jurisdiction over this action and

 personal jurisdiction over all the parties in this action.

       2.     This Final Approval Order shall also constitute the Final Judgment

 Order referenced in Paragraph 14.1 of the Settlement Agreement.

       3.     Capitalized terms not otherwise defined herein shall have the same

 meaning as set forth in the Settlement Agreement.

       4.     Based on the record before the Court, including the Order

 preliminarily approving the Settlement and preliminarily certifying the settlement

 class, and the submissions in support of the Settlement and preliminary

 certification, the Court finds that the requirements of Federal Rule of Civil

 Procedure 23(a) and (b)(3) have been satisfied and hereby certifies solely for the

 purpose of effectuating the Settlement the following Settlement Class pursuant to

 the Settlement Agreement:

       All current and former owners or lessees of Class Vehicles who are or
       were the registered owners or lessees of such vehicles, on or before the
       date that the Settlement receives preliminary approval, to the extent that
       such registrations were in the District of Columbia or one of the fifty
       (50) states of the United States, except that the following are excluded:
       (i) owners and lessees who first purchased or leased a Class Vehicle
       nine or more years after such Class Vehicle was registered for the first

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          time; (ii) owners and lessees of a Class Vehicle on which a timing chain
          and/or timing chain tensioner was first replaced when such Class
          Vehicle had been in service for more than eight years or driven for more
          than 100,000 miles; (iii) any judge assigned to the Litigation; (iv)
          Persons, if any, who prior to the date of preliminary approval, settled
          with and released JLRNA or any other Releasee from any of the released
          claims as set forth in Paragraph 14.2 of the Settlement Agreement; (v)
          financial institutions; and (vi) JLRNA.


          5.    The Court finds that the requirements of Rule 23 are satisfied solely

 for the purpose of effectuating the Settlement as follows:

                a.     Pursuant to Rule 23(a)(1), the Court determines that the

 members of the Class are so numerous that their joinder before the Court would be

 impracticable;

                b.     Pursuant to Rule 23(a)(2), the Court determines that Class

 Representatives have alleged one or more questions of fact or law common to the

 Class;

                c.     Pursuant to Rule 23(a)(3), the Court determines that Class

 Representatives’ claims are typical of the claims of the Class;

                d.     Pursuant to Rule 23(a)(4), the Court determines that Class

 Representatives will fairly and adequately protect the interests of the Class;

                e.     Pursuant to Rule 23(b)(3), the Court determines that, in the

 context of the proposed settlement, common questions of law and fact predominate

 over questions affecting only individual members; and

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              f.     Also pursuant to Rule 23(b)(3), the Court determines that, in

 the context of the proposed settlement, a class action is superior to other available

 methods for the fair and efficient adjudication of this action.

       6.     If this Final Approval Order is set aside, materially modified, or

 overturned by this Court or on appeal, and is not fully reinstated on further appeal,

 this Final Approval Order certifying the Class shall be vacated nunc pro tunc.

       7.     Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, the

 Court hereby grants final approval of the Settlement on the basis that it is fair,

 reasonable, and adequate as to, and in the best interests of, all Class Members, and

 is in compliance with all applicable requirements of the Federal Rules of Civil

 Procedure.

       8.     Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, and

 solely for settlement purposes, the Court appoints the following firms as Class

 Counsel for the Settlement Class: Kantrowitz, Goldhamer & Graifman, P.C. and

 Thomas P. Sobran P.C.

       9.     The Class Representatives will represent the Settlement Class.

       10.    The Court approves the terms of the Settlement Agreement.

       11.    The distribution of the Notice as provided for in the Order granting

 preliminary approval of the settlement constituted the best notice practicable under

 the circumstances, including individual notice to all members of the Class who

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 could be identified through reasonable effort. Said Notice fully satisfied the

 requirements of Federal Rule of Civil Procedure 23, due process, and any other

 applicable law.

       12.    The Court has carefully considered and overrules the three (3)

 objections to the proposed Settlement that have been filed by Robert Taylor (ECF

 Dkt No. 70), Elizabeth Ross (ECF Dkt No. 74) and Lou Quinn (ECF Dkt No. 75).

       13.    Except as to any individual claim of those Persons who have validly

 and timely requested exclusion from the Class (“Opt-Outs”), all Parties and Class

 Members are bound by this Final Approval Order and by the Settlement

 Agreement. 1/

       14.    Except as to the Opt-Outs, the Court dismisses all claims contained in

 this action, as well as all of the Released Claims, against any of the Releasees by

 the Class Representatives and/or Class Members, with prejudice. The Parties are to

 bear their own costs, except as otherwise provided in the Settlement Agreement.

       15.    The Opt-Outs have timely and validly requested exclusion from the

 Class and are hereby excluded from the Class, not bound by this Final Approval




 1/ Attached as Exhibit 1 to this Order is a list of Persons who requested exclusion
 from the Class. The list includes those Persons who timely requested exclusion
 (“Opt-Outs”) and those who requested exclusion after the January 18, 2022
 postmark deadline. The latter group have not qualified as Opt-Outs.
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 Order, and may not make any claim or receive any benefit from the Settlement,

 whether monetary or otherwise.

       16.    The Court dismisses, with prejudice, Schmidt, et al., v. Jaguar Land

 Rover North America, LLC, No. 18-CV-08528-CCC-JBC (D.N.J.).

       17.    As of the Effective Date of the Agreement (as defined in Paragraph 15

 of the Agreement), the Releasors shall be deemed to hereby fully and irrevocably

 release, waive, and discharge the Releasees, whether or not specifically named

 herein, from any and all past, present, and future liabilities, claims, causes of action

 (whether in contract, tort or otherwise, including statutory, common law, property,

 declaratory and equitable claims), damages, costs, attorneys’ fees, losses, or

 demands, whether known or unknown, existing or potential, or suspected or

 unsuspected that (i) were or could have been asserted in the Litigation relating to

 or concerning the Alleged Defect in Class Vehicles or (ii) that were or could have

 been asserted in any other complaint, action, or litigation in any other court or

 forum and relate to or concern the Alleged Defect in Class Vehicles or the

 transactions, actions, conduct or events that are the subject of the Litigation

 regarding the Class Vehicles and the Alleged Defect in Class Vehicles (“Released

 Claims”); provided that the Released Claims shall include any unknown claims

 concerning the Alleged Defect in one or more Class Vehicles that a Settlement

 Class Member does not now know to exist which, if known, might have affected

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 the Settlement Class Member’s decision regarding the settlement of the

 Litigation; provided further that the Class Representatives acknowledge that they

 and the other Settlement Class Members may hereafter discover facts in addition

 to or different from those that they now know or believe to be true concerning the

 subject matter of this release but the Released Claims shall nonetheless be

 deemed to include any and all Released Claims without regard to the existence of

 such different or additional facts concerning each of the Releasees.

 Notwithstanding the foregoing, no claims are released hereunder: (a) for personal

 injury; (b) for damage to property other than a Class Vehicle; (c) that pertain to

 one or more timing chains or timing chain tensioners in a Class Vehicle to the

 extent that such Class Vehicle, at the time of the repair(s) or replacement(s) of such

 timing chain(s) or timing chain tensioner(s), had been in service for more than

 eight years or driven for more than 100,000 miles; or (d) that pertain to anything

 other than the Class Vehicles and the Alleged Defect in Class Vehicles.

       18.    All Releasors are barred, enjoined, and restrained from commencing

 or prosecuting any action, suit, proceeding, claim or cause of action in any

 jurisdiction or court against any Releasee based upon, relating to, or arising out of,

 any of the Released Claims.




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       19.    This Final Approval Order shall not affect, in any way, the right of

 Class Representatives or Class Members to pursue claims, if any, outside the scope

 of the Released Claims.

       20.    The Settlement Agreement, acts performed in furtherance of the

 Agreement or the Settlement set forth therein, and documents executed in

 furtherance of the Agreement or the Settlement set forth therein, may not be

 deemed or used as evidence of an admission or other statement supporting: (i) the

 validity of any claim made by the Class Representatives, Settlement Class

 Members, or Class Counsel (including the appropriateness of class certification);

 (ii) any wrongdoing or liability of any Releasee; or (iii) any fault or omission of

 any Releasee in any court, administrative agency, or other proceeding.

       21.    Neither the Settlement Agreement nor any action taken by the Parties

 either previously or in connection with the negotiations or proceedings connected

 with the Agreement shall be (i) offered or be admissible in evidence against any

 Releasee, or cited or referred to in any action or proceeding, except in an action or

 proceeding that is in furtherance of its terms or brought to enforce its terms or (ii)

 deemed or construed to be an admission of the truth or falsity of any claims or

 defenses heretofore made in the Litigation or an acknowledgment or admission by

 any Releasee of any fault, liability, or wrongdoing of any kind whatsoever.

 Notwithstanding the foregoing, the Settlement Agreement may be filed in an action

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 to enforce or interpret the terms of the Settlement Agreement and any other

 documents executed in connection with the performance of the agreements

 embodied therein. The Releasees may file the Settlement Agreement and/or this

 Final Approval Order in any action that may be brought against them in order to

 support a defense or counterclaim based on the principles of res judicata, collateral

 estoppel, full faith and credit, release, good faith settlement, judgment bar, or

 reduction or any other theory of claim preclusion or issue preclusion or similar

 defense or counterclaim.

       22.    Any order entered regarding the motion for attorneys’ fees and

 expenses or incentive awards in this action shall in no way disturb or affect this

 Final Approval Order and shall be considered separate from this Final Approval

 Order.

       23.    If this Final Approval Order is set aside, materially modified, or

 overturned by this Court or on appeal, and is not fully reinstated on further appeal,

 this Final Approval Order shall be deemed vacated and shall have no force or

 effect whatsoever.

       24.    Without affecting the finality of this Final Approval Order in any way,

 this Court hereby retains continuing jurisdiction over (a) implementation of the

 Settlement and any award or distribution of reimbursements under the claims-made

 Settlement; (b) hearing and determining applications for attorneys’ fees, costs,

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  expenses, and incentive awards in the action; and (c) all Parties hereto for the

  purpose of construing, enforcing, and administering the Settlement.

        25.    The Clerk of the Court is hereby directed, pursuant to Rule 58 of the

  Federal Rules of Civil Procedure, to promptly enter judgment in a separate

  document.



  DATED: March 9, 2022

                                                        s/ Claire C. Cecchi
                                                       _________________________
                                                       The Hon. Claire C. Cecchi
                                                       United States District Judge




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                               Exhibit 1
      Exclusion #                          Name             Exclusion Date (Postmark Date)
          1                           Conrad S Owen                  12/29/2021
          2                            Nick Richart                   1/4/2022
          3                        The Parris Group, Inc              1/5/2022
          4                             Eric Nelson                   1/5/2022
          5                             Lou Quinn*                    1/6/2022
          6                          Thomas F Duckert                 1/18/2022
          7                           Charles J Moran          1/20/2022 (PM 1/8/2022)
          8                          Jeffrey S Cashdan        1/20/2022 (PM 1/16/2022)
          9                            June Thomas             2/1/2022 (PM 1/18/2022)
          10                          Julie Dyan Marr          2/1/2022 (PM 1/18/2022)
          11                           Patrick Boyd            2/1/2022 (PM 1/19/2022)
          12                         Michelle Smirnov          2/4/2022 (PM 1/20/2022)
          13                        Armando De La Paz          2/4/2022 (PM 1/20/2022)
          14                    Melissa Gomez - De La Paz      2/4/2022 (PM 1/20/2022)
          15                          James Winston           2/14/2022 (PM 1/15/2022)
          16                        Ibrahim Mohammed          2/14/2022 (PM 1/18/2022)
          17                          Minnie Tanner                      N/A
       * Lou Quinn has also objected to the Settlement.
